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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 JOINT STOCK COMPANY “CHANNEL ONE :
 RUSSIA WORLDWIDE”,                                           :
                                              Plaintiff,      :   18 Civ. 2318 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 RUSSIAN TV COMPANY, INC., et al.,                            :
                                              Defendants. X
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, this case is trial ready and not to be tried with a jury. (See Dkt. No. 33).

        WHEREAS, discovery for this action closed on August 21, 2020. (Dkt. No. 242).

        WHEREAS, on October 12, 2020, Plaintiff filed a pre-motion letter. (Dkt. No. 251). On

October 16, 2020, Defendants filed their response opposing Plaintiff’s request. (Dkt. No. 254).

        WHEREAS, a pre-motion conference was held on November 5, 2020, to discuss next

steps in this action. At this conference, the Court identified several options the parties could

choose to resolve this action such as a remote trial, a partially in-person trial, or a summary trial

on the papers. It is hereby

        ORDERED that, by November 19, 2020, the parties shall file a joint letter proposing the

manner in which they would like to resolve the case. If the parties do not agree on an approach,

each party shall communicate its preferred approach in the letter.


Dated: November 5, 2020
       New York, New York
